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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       1:06-CR-23-TS
                                              )
MARLYN J. BARNES                              )

                                            OPINION

       On February 7, 2008, the Defendant, Marlyn J. Barnes, was convicted of conspiring to

possess with intent to distribute more than 5 kilograms of a mixture or substance containing a

detectable amount of cocaine in violation of 21 U.S.C. § 846 when he knowingly and

intentionally agreed with others to rob a shipment of cocaine from a stash house. The jury also

found Barnes guilty of carrying a firearm during and in relation to a drug trafficking offense, and

possessing a firearm in furtherance of a drug trafficking offense in violation of 18 U.S.C. §

924(c). On April 13, 2009, the Court sentenced the Defendant to 292 months of imprisonment

for the conspiracy offense and 60 months for the firearm offense. The term of imprisonment for

the conspiracy was based, in part, on the Court’s finding that the quantity of cocaine involved in

the conspiracy was 40 kilograms. On April 8, 2010, the Court of Appeal for the Seventh Circuit

vacated the sentence and remanded for re-sentencing. See United States v. Barnes, 602 F.3d 790

(7th Cir. 2010). The Seventh Circuit held that the remand was necessary because the district

court incongruously rejected the parties’ post-trial joint stipulation that the conspiracy involved

between 5 and 15 kilograms of cocaine, because the Court had already accepted the same plea

agreement stipulations when sentencing four of the Defendant’s co-conspirators. Id. at 797. On

January 21, 2011, the Defendant came before the Court for re-sentencing. This Opinion resolves

the issues that were raised in the parties’ sentencing briefs and asserted at the sentencing hearing.
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       In his post-remand Sentencing Brief [ECF No. 506], the Defendant urges the Court to

sentence him based on a quantity of cocaine of 25 grams or less because the conviction stems

from a reverse sting operation involving fictitious drugs in an amount that was determined by the

Government. He contends that the drug quantity overstates his criminality and threat to the

public. If the Court declines to use the 25-gram quantity, the Defendant submits that the correct

amount is between 5 and 15 kilograms, consistent with his co-defendants’ sentences and with the

jury’s verdict. The Defendant also asks that the Court reconsider its application of a four level

increase to his base offense level on grounds that he was an organizer or leader of five or more

participants in the commission of an offense. In a reiteration of his argument at sentencing, he

submits that there were actually two conspiracies, neither of which involved five or more

conspirators. He also resubmits his challenge to the two level increase to his offense level for

willful obstruction of justice. Finally, the Defendant maintains that the § 3553(a) sentencing

factors justify a sentence at the low end of any guideline range that is based on a quantity of

cocaine greater than 25 grams.

       In response, the Government contends that the only issue for the Court’s consideration on

remand is the amount of drugs involved in the conspiracy. The Government argues that both the

jury’s verdict and the parties’ post-trial stipulation support a finding of between 5 and 15

kilograms, and that there is no support for the Defendant’s argument that the Government

exercised exclusive control over the amount of drugs involved. The Government notes that, the

Defendant’s only challenge to his sentence on appeal was the Court’s rejection of the parties’

stipulation regarding the amount of drugs involved, any other challenges to his sentence are

outside the scope of remand. The Government argues that, ultimately, the Defendant should


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receive the same sentence that the Court imposed at his first sentencing hearing, 292 months.



A.     Scope of the Remand

       In the absence of any special instructions, on remand a district court may address only (1)

the issues remanded, (2) issues arising for the first time on remand, or (3) issues that were timely

raised before the district and/or appellate courts but which remain undecided. United States v.

Morris, 259 F.3d 894, 898 (7th Cir. 2001) (describing the law-of-the-case doctrine which

requires a district court to confine its discussion to the issues remanded and barring it from

addressing issues that could have been raised on appeal); see also United States v. Husband, 312

F.3d 247, 250–51 (7th Cir. 2002) (stating that issues that could have been but were not raised on

appeal are waived and thus not remanded). The Defendant’s request for this Court to reconsider

its rulings related to the enhancements for being an organizer or leader and for obstructing

justice do not fall within the permissible areas of discussion for this Court on remand. At

sentencing, the Court applied the enhancements over the Defendant’s objections, and the

Defendant could have appealed the application of these enhancements. Because he did not, they

are now waived.

       The Defendant also argues that the scale of the sting operation overstates his criminality

and results in excessive punishment. The Defendant asserts that the Government exercised

exclusive control over the amount of drugs involved in the reverse sting operation. This does not

appear to have been an issue that the Defendant raised on appeal, and the Court of Appeals did

not explicitly discuss it. Even if this issue were proper to address on remand, the Court would

not find it to have any merit. In the background section of the appellate court’s opinion, it noted


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that the government agent and the confidential informant “never indicated the amount of drugs

that would be involved in the shipment.” 602 F.3d at 792. Rather, the drug amounts were those

assumed by the Defendant with “little guidance” by the government agent and informant

regarding the amount of drugs involved. Id. The drug amount was not the result of the

imagination of the ATF agent and the cooperating informant, but of the Defendant himself.

Accordingly, there is no basis to dismiss these amounts as not reflective of the seriousness of the

Defendant’s offense.

       In a related argument, the Defendant states that there was no evidence that he had the

ability to successfully carry out his plan to rob a stash house, and the court should “exclude from

the offense level determination the amount of controlled substance that the defendant establishes

that the defendant did not intend to provide or purchase or was not reasonably capable of

providing or purchasing. U.S.S.G. § 2D1.1, Commentary, Application Note 12. The Defendant

asserts that he should be sentenced based on a quantity of cocaine of 25 grams or less. This

argument was not raised on appeal and is outside the scope of remand. 1


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          The Court does not agree with the Defendant’s argument that his position on appeal–that the
stipulation should have governed the drug amount—encompasses the argument that he was not
reasonably capable of producing any drug amount. Had the issue been properly raised, and remained for
this Court’s determination, the Court would reject it. The commentary to Guideline § 2D1.1 explains:

       In an offense involving an agreement to sell a controlled substance, the agreed-upon
       quantity of the controlled substance shall be used to determine the offense level unless
       the sale is completed and the amount delivered more accurately reflects the scale of the
       offense. For example, a defendant agrees to sell 500 grams of cocaine, the transaction is
       completed by the delivery of the controlled substance—actually 480 grams of cocaine,
       and no further delivery is scheduled. In this example, the amount delivered more
       accurately reflects the scale of the offense. In contrast, in a reverse sting, the agreed-upon
       quantity of the controlled substance would more accurately reflect the scale of the offense
       because the amount actually delivered is controlled by the government, not by the
       defendant. If, however, the defendant establishes that the defendant did not intend
       to provide or purchase, or was not reasonably capable of providing or purchasing,

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B.      Drug Quantity

        The Seventh Circuit remanded this case for the Court to resentence the Defendant

because the Court calculated his Guideline range using a drug quantity that conflicted with the

drug quantity used to calculate the sentence of four of his co-conspirators, without providing an

explanation for the differing treatment. The appellate court noted that the district court could

have rejected the factual stipulations in the plea agreements for the cooperating defendants if it

felt that the stipulations were not supported by the evidence, but that it did not question those

stipulations. Although this statement is true, at the time of Defendant Barnes’s sentencing, the

Court did not have the authority to alter the amount of drugs used to determine the advisory

guideline ranges of these already sentenced co-defendants, even if those amounts were a




        the agreed-upon quantity of the controlled substance, the court shall exclude from the
        offense level determination the amount of controlled substance that the defendant
        establishes that the defendant did not intend to provide or purchase or was not reasonably
        capable of providing or purchasing.

U.S.S.G. § 2D1.1, Commentary, Application Note 12. The Defendant, concentrating on the last sentence
of the quoted commentary, argues that the Defendant was not reasonably capable of possessing any
amount of cocaine because there was no evidence that he could have successfully accomplished the
planned robbery of a heavily armed stash house. The Court does not find this application note relevant in
the circumstances of this case. The Defendant anticipated that the house would be armed and he was
prepared to counter and attack with his own firepower and manpower. It is this planning that constitutes
the punishable conspiracy under § 846. See United States v. Corson, 579 F.3d 804 (7th Cir. 2009).
Moreover, there is no evidence to suggest that the quantity (and thus the Defendant’s belief regarding the
quantity) would have been unreasonable for a drug shipment arriving from Texas. The evidence admitted
at trial in this case supports a conclusion that the Defendant expected that the stash house he was
preparing to rob would contain a large load of cocaine that had just arrived from Texas, and that the
results would be very lucrative for him and his co-conspirators. The Defendant’s own statements reflect
that he anticipated recovering between 40 to 80 kilograms. Although the quantity was never confirmed,
the lack of confirmation is not surprising. Real couriers of drugs are not informed of drug quantities and
are unable to make assurances about the actual quantities of drugs being shipped. This lack of certainty
would not absolve a conspirator who planned to use force to steal the load and distribute himself from his
criminal acts. Although the evidence could support a greater quantity than that represented by the parties’
stipulation, it does not support the lesser amount argued by the Defendant on remand.


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compromise that did not accurately reflect the evidence. The Court still lacks this authority.

Therefore, the only way to resolve the discrepancy in the factual findings is to find that the

conspiracy involved between 5 and 15 kilograms of cocaine.2 This is also consistent with the

parties’ stipulation and the jury’s finding. The corresponding base offense level is 32. The

adjustments for the Defendant’s role in the offense (+4) and obstruction of justice (+2) result in

an offense level of 38, which combined with his criminal history category yields an advisory

guideline range of 235–293 months of imprisonment.



C.      Section 3553(a)

        One of the issues advanced on appeal was whether it was reasonable to conclude that the

trial court would have imposed the same sentence regardless of which Guideline range applied,

thus removing the sentence from appellate review. The Seventh Circuit held that the sentence

was reviewable because the district court did not evince a clear and unambiguous intention to

give the same sentence even if the lower Guideline range applied. 602 F.3d at 795.

        In the Court’s Sentencing Memorandum, filed on April 13, 2009, the same date it

sentenced the Defendant, the Court wrote:

        The Court finds that the sentence that best takes into account all the purposes of
        punishment is one that corresponds to the high end of the range that would have
        been calculated using more than 5 but less than 15 kilograms of cocaine, which is
        the low end of the range that was actually calculated using 40 kilograms of


        2
          The appellate court noted that the district court had rejected the stipulated drug quantity on
grounds that it was not supported by the evidence at trial, and stated that it was reviewing this finding.
However, the appellate court’s analysis did not reference the trial evidence that it cited earlier in the
background section of its opinion. Rather, the sole basis for holding that it was clear error to find that the
conspiracy involved 40 kilograms instead of 5 to 15 kilograms was that it conflicted with the factual
stipulations the Court accepted for the co-conspirators without noting any differing factual circumstances.
This also suggests that the discrepancy is best resolved by accepting the stipulation.

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        cocaine. Using the stipulated drug amount would have lowered the offense level
        from 40 to 38, and Barnes’s advisory guideline range would have changed from
        292–365 months of imprisonment to 235–293 months of imprisonment. Given the
        other factors discussed above, using a lower drug amount does not have the effect
        of making a within-Guideline sentence unreasonable. Rather, as the sole
        mitigating factor in a serious offense, it points the Court to the sentence within the
        73-month span provided by the advisory Guidelines range of 292–365 months of
        imprisonment that is sufficient, but not greater than necessary, to accomplish the
        purposes of punishment.

(Sentencing Mem. 20–21, ECF No. 452) (footnotes omitted). In addition, the Court stated during

the sentencing hearing that it was imposing a sentence at the low end of the range for Count 1

because it avoided unnecessary sentencing disparity, and it adequately reflect the seriousness of

the offense, promoted respect for the law, and deterred future criminal conduct without being

greater than necessary to accomplish these purposes. The only disparity that the Court was

attempting to avoid by sentencing the Defendant to the low end of the 292–365 month range was

that related to the differing drug quantities used. The Court believed that, while it could not rely

on the stipulation because it contradicted trial evidence, it could still consider and account for the

disparity that was created by using a larger drug quantity than that relied upon to sentence the

Defendant’s co-conspirators. The Seventh Circuit reasoned that the district court could not

consider the drug amount stipulation in its analysis of the § 3553(a) factors because a court does

not consider § 3553(a) factors until after making a proper guideline range determination.3

        The Court understands that it created an ambiguity regarding whether it would have

imposed the same sentence regardless of which Guideline range applied when it referenced the



        3
           It appears, in this Court’s assessment, that the district court dealt with the incongruent findings
of fact regarding the drug amounts through the lens of § 3553(a) and disparity, while the appellate court
would have dealt with the same issue during the calculation of the base offense level and the Guideline
range. Therefore, even though the appellate court found that the district court’s approach was not the
proper one procedurally, the final term of imprisonment is the same.

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reasonableness of a within-Guideline sentence (as opposed to a 292-month sentence), making it

appear that the range influenced the Court’s decision. The Court now clarifies that the term of

imprisonment of 292 months is the sentence that the Court believes is sufficient but not greater

than necessary to meet the purposes of punishment. The Court denies the Defendant’s request to

sentence him to the low end of the new range and instead finds that, whether the appropriate

range is 292 to 365 months or 235 to 293 months, the sentence that is sufficient, but not greater

than necessary, to accomplish the purposes of punishment is 292 months of imprisonment. The

Court incorporates its analysis of § 3553(a) factors from the first sentencing hearing and from

the January 21, 2011, hearing.



                                        CONCLUSION

       For the foregoing reasons, the Court sentences the Defendant to 292 months of

imprisonment for his conviction on Count 1 of the Indictment.

       ENTERED: January 21, 2011.

                                                     s/ Theresa L. Springmann
                                                     THERESA L. SPRINGMANN
                                                     UNITED STATES DISTRICT COURT




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